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                       UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF FLORIDA
                           FORT LAUDERDALE DIVISION


IN RE:
RALPH LEVI SANDERS, JR.                           CASE NO. 18-12969-JKO
                                                  CHAPTER 13
                             Debtor.
                                            /


            MOTION TO VACATE MODIFICATION MEDIATION ORDER

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW, The Bank of New York Mellon, f/k/a The Bank of New York,

successor in interest to JPMorgan Chase Bank, N.A. as Trustee for Bear Stearns Asset

Backed Securities Trust 2006-SD2, Asset-Backed Certificates, Series 2006-SD2, by and

through the undersigned counsel, and hereby moves to vacate the Mortgage Modification

Mediation Order [D.E. 31] entered on July 10, 2018, and in support states as follows:


       1.     On July 09, 2018 the Debtor filed a Motion for Referral to Mortgage Modification

              Mediation (“Motion”) [D.E. 28].

       2.     On July 10, 2018 the Mortgage Modification Mediation Order [D.E. 31] (the

              “Order”) was signed and entered for the property which serves as collateral for

              Movant’s loan.

       3.     On July 19, 2018, the undersigned law firm was retained to handle the Mediation.

       4.     On July 18, 2018, eight (8) days later, the Debtor was registered to the DMM

              Portal and a financial package was provided.




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      5.     To date, one hundred seventy (170) days have passed since the Mortgage

             Modification Mediation Order has been granted and a complete package has still

             not been uploaded into the DMM Portal.

      6.     The undersigned firm has, in good faith, attempted to participate in the Mediation

             process with the Debtor; however, the Debtor has failed to provide the creditor

             with complete documents in connection to a review for modification.

      7.     Because complete documents have not been received, the Debtor has failed to

             comply with the requirements of the Mediation process, and the Order should be

             vacated.


      WHEREFORE, Creditor respectfully prays that the Court:

             A.     Grant its Motion to Vacate the Mortgage Modification Mediation Order;

             B.     Bar the Debtor from moving for another Mortgage Modification

                    Mediation, in this bankruptcy case;

             C.     Award Creditor reasonable attorney’s fees and costs for the necessity of

                    this motion, and

             D.     Grant any other further relief that this Court deems just and appropriate.


                                           Respectfully submitted,

                                            /s/Scott Lewis, Esq.
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 27th day of December, 2018, I served a copy of the
foregoing upon:
SERVICE LIST

Ralph Levi Sanders, Jr.
561 SW 60 Ave.
Plantation, FL 33317

Michael H. Johnson
3601 W. Commercial Blvd. #31
Ft. Lauderdale, FL 33309

Robin R Weiner
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